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16                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                  SAN FRANCISCO DIVISION
18

19
     SCOTT CRAWFORD and JARVIS                Case No. 3:17-cv-02664-RS
20   JERNIGAN, JR.,
                                               JOINT CASE MANAGEMENT
21                        Plaintiffs,          STATEMENT AND
22                                             [PROPOSED] ORDER
                   v.
23                                            Date: December 21, 2017
     UBER TECHNOLOGIES, INC. and              Time: 10:00 a.m.
24   RASIER, LLC,                             Place: Courtroom 3 – 17th Floor
25                        Defendants.
26
27

28
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 1                      JOINT INITIAL CASE MANAGEMENT STATEMENT

 2          Pursuant to Local Rule 16-9, and the Court’s Standing Orders, Plaintiffs Scott Crawford

 3   and Jarvis Jernigan, Jr. (“Plaintiffs”), and Defendants Uber Technologies, Inc. and Rasier, LLC

 4   (“Defendants”) (collectively, “Parties”), through counsel, submit this Joint Initial Case

 5   Management Statement. The parties have met and conferred concerning the subjects identified in

 6   Federal Rule of Civil Procedure 26(f) and in the Standing Order for All Judges of the Northern

 7   District of California on the Contents of Joint Case Management Statement. This Joint Initial Case

 8   Management Statement reflects the positions of each party as to the sections or subsections so

 9   attributed, and reflects the agreed position of all parties only insofar as not otherwise attributed.

10          1.      Jurisdiction and Service. All Defendants have been served with Plaintiffs’

11   Complaint. In the Complaint, Plaintiffs assert that this Court has original jurisdiction over their

12   claim under the Americans with Disabilities Act pursuant to 28 U.S.C. §§ 1331 and 1343, and

13   supplemental jurisdiction over their claims under California law pursuant to 28 U.S.C. § 1367.

14          2.      Facts

15          Plaintiffs’ Statement. Plaintiffs are persons with disabilities that use electric wheelchairs

16   and reside in Jackson, Mississippi. Plaintiffs bring this action because defendants, Uber

17   Technologies, Inc. and Raiser, LLC (collectively “Uber”) operate a transportation system and have

18   failed to make their transportation system accessible for persons who use wheelchairs in Jackson,

19   Mississippi.

20          On occasion, Uber offers short-term promotions that allow app users to order special sale
21   items by clicking on an icon that appears in the user’s app for the duration of the promotion. When

22   the promotion is over, the special icon disappears and the app returns to its usual appearance.

23   Crawford and Jernigan have never downloaded the Uber app because they are aware that their

24   electric wheelchairs cannot fit into a standard car. If Uber were to offer ride services that could

25   accommodate electric wheelchairs, Crawford and Jernigan would use the Uber app. Because Uber

26   could add a mechanism for connecting riders to wheelchair accessible vehicles but does not do so
27   in Jackson, Crawford and Jernigan assert that Uber prevents drivers with such vehicles from

28

                                                        1         JOINT INITIAL CASE MANAGEMENT
     Case No. 3:17-cv-02664-RS                                    STATEMENT
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 1   offering those services to disabled persons.

 2          Uber has taken steps to make its services accessible in other cities (Washington, D.C.,

 3   Chicago, IL, etc.,). Despite the ease at which Uber can modify its app, and the steps Uber has taken

 4   to increase accessibility in other cities, Uber has not made its services in Jackson accessible to

 5   persons who use electric wheelchairs. Plaintiffs bring this action under Title III of the Americans

 6   With Disabilities Act (“ADA”) and two California state-law statutes: the California Disabled

 7   Persons Act, California Civil Code § 54 et seq. (“CDPA”), and Cal. Civ. Code Section 55 et seq.

 8          Without waiving any factual issues or limiting themselves, the principal disputed factual

 9   issues Plaintiffs foresee are: is Uber operating a demand responsive transportation system (mixed

10   legal/factual issue); to what extent does Uber control the individuals who provide services on

11   Uber’s behalf in Jackson, Mississippi; on how many instances have Plaintiffs been deterred from

12   using Uber’s services; what steps has Uber taken to increase accessibility in Jackson, Mississippi

13   (if any); what steps has Uber taken to increase accessibility in other markets; what steps must be

14   taken to bring Uber’s services into compliance with the ADA in Jackson, Mississippi; what

15   impediments exist, if any, to making Uber’s services accessible in Jackson, Mississippi; what

16   accessibility plans did Uber have before it entered the Jackson, Mississippi market; what level of

17   control has Uber asserted over the Jackson, Mississippi market from San Francisco, California;

18   what factual support exists for Uber’s affirmative defenses.

19          Defendants’ Statement. Defendants offer a smartphone application (the “Uber App”) that

20   networks riders seeking rides and independent, third-party transportation providers (“Drivers”)
21   looking to provide rides in several U.S. cities, including Jackson, Mississippi. Drivers who choose

22   to seek and accept ride requests via the Uber App do so using vehicles they obtained on their own.

23   Defendants neither own the vehicles used nor employ any Drivers.

24          Uber’s technology has been revolutionary for riders and Drivers with accessibility needs,

25   increasing mobility options and economic opportunities for individuals with disabilities. Uber has

26   also made significant strides in enhancing the ability of riders who use non-folding, motorized
27   wheelchairs to more easily request rides from Drivers who both choose to possess wheelchair

28   accessible vehicles (“WAVs”) and choose to use the Uber App to seek and accept ride requests. In

                                                      2         JOINT CASE MANAGEMENT STATEMENT
     Case No. 3:17-cv-02664-RS
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 1   a handful of cities where there is a sufficient quantity of such Drivers, Defendants have piloted an

 2   option within the Uber App, called “uberWAV.”1 The uberWAV option in the Uber App networks

 3   Drivers who possess WAVs and who have chosen to seek and accept ride requests via the Uber

 4   App to network with riders seeking WAV service. Uber also has piloted an option within the Uber

 5   App called “uberASSIST,” which allows riders who need an extra hand getting into and out of

 6   vehicles and/or stowing their belongings to request rides from specially trained Drivers.

 7           At this time, neither option is available in the Uber App in Jackson, Mississippi. Plaintiffs

 8   allege that they live in or around Jackson, Mississippi. Plaintiffs allege that they require WAVs for

 9   transportation. Plaintiffs have never used or downloaded the Uber App.

10           Without waiving any arguments or otherwise limiting themselves, Defendants assert that,

11   at this early stage of the litigation, the disputed factual issues may include, but are not necessarily

12   limited to, the following: whether Plaintiffs require WAVs for transportation; whether Plaintiffs

13   have been deterred from using the Uber App; whether Plaintiffs intend to use the Uber App in the

14   future; whether Plaintiffs would request rides via the uberASSIST option in the Uber App.

15           3.     Legal Issues

16           Plaintiffs’ Statement. Without waiving any legal issues/theories or limiting themselves,

17   the major legal issues Plaintiffs foresee are:

18       •   Whether Uber has violated Section 12184(a), which provides a general rule that “[n]o
             individual shall be discriminated against on the basis of disability in the full and equal
19           enjoyment of specified public transportation services provided by a private entity that is
             primarily engaged in the business of transporting people and whose operations affect
20           commerce.
21       •   Whether Uber is operating a demand responsive transportation system under 42 U.S.C.
             § 12181(3).
22
         •   Whether, as a result of the control Uber asserts over its drivers, Uber is providing a service
23           under contract pursuant to 49 C.F.R. §37.23(d).
24       •   Whether Uber has committed discrimination “against an individual with a disability in
             connection with the provision of transportation service”, in violation of 49 C.F.R. § 37.5(a).
25

26
     1
             Plaintiffs contend that Uber should simply turn on an uberWAV option in Jackson and that
27   refusing to do so may discourage persons who own such vehicles to sign up for the Uber App. But
     simply turning on the option with only a minimal number of active Drivers does not provide reliable
28   service that is beneficial to riders who seek WAV trips.
                                                       3          JOINT CASE MANAGEMENT STATEMENT
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 1      •   Whether Uber is in the business of “transporting people.”
 2      •   Whether Uber has committed denial of participation, in violation of 42 U.S.C.
            § 12182(b)(1)(A)(i).
 3
        •   Whether Uber has failed to make reasonable modifications in policies, practices, or
 4          procedures, in violation of 42 U.S.C. § 12182 (b)(2)(A)(ii).

 5      •   Whether Uber has failed to take steps to ensure persons with disabilities are not excluded
            from its services, unless fundamental alteration or undue burden, in violation of 42 U.S.C.
 6          § 12182 (b)(1)(A)(iii).

 7      •   Whether Uber is obligation to comply with the equivalent service standard, 42 U.S.C.
            § 12182(b)(2)(C)(i), and if so, what it must do to comply with this requirement.
 8
        •   Whether Uber violated the California Disabled Persons Act, California Civil Code § 54 et
 9          seq. (“CDPA”), and Cal. Civ. Code Section 55 et seq. by and through its control of the
            Jackson, Mississippi market from San Francisco, California.
10
            Defendants’ Statement.          Without waiving any arguments or otherwise limiting
11
     themselves, Defendants assert that, at this early stage of the litigation, the disputed legal issues may
12
     include, but are not necessarily limited to, the following:
13
        •   Whether Plaintiffs have Article III standing;
14
        •   Whether the Uber App is a “place of public accommodation” within the meaning of
15          42 U.S.C. § 12182(a). See Weyer v. Twentieth Century Fox Film Corp., 198 F.3d 1104,
            1114 (9th Cir. 2000).
16
        •   Whether Defendants are “primarily engaged in the business of transporting people” within
17          the meaning of 42 U.S.C. § 12184(a)(1) even though it does not own vehicles, employ
            drivers, or actually transport people.
18
        •   Whether Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12181 et
19          seq., requires Defendants to include any particular option within the Uber App in Jackson,
            Mississippi. See Chabner v. United of Omaha Life Ins. Co., 225 F.3d 1042, 1047 (9th Cir.
20          2000)
21      •   Whether Title III of the ADA requires any entity to offer WAV service. See 49 C.F.R.
            § 37.29(b); Toomer v. City Cab, 443 F.3d 1191, 1195 (10th Cir. 2006).
22
        •   Whether the relief Plaintiffs seek would require Defendants’ to fundamentally alter their
23          business. See 42 U.S.C. §§ 12182(b)(2)(A)(ii), 12184(b)(2)(A).
24      •   Whether California’s Disabled Persons Act and Unfair Competition Law apply
            extraterritorially. See Sullivan v. Oracle Corp., 254 P.3d 237, 248 (Cal. 2011).
25
        •   Whether the Uber App is a “place of public accommodation” within the meaning of
26          California Civil Code § 54.1(a)(1).
        •   Whether Plaintiffs have asserted any basis for their claims under California’s Disabled
27
            Persons Act and Unfair Competition Law that is independent of their claim under Title III
28          of the ADA.

                                                        4          JOINT CASE MANAGEMENT STATEMENT
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 1          4.      Motions.

 2                  a.      Past Motions. On August 17, 2017, Defendants moved to transfer this

 3   action to the Southern District of Mississippi. ECF No. 21. This Court denied that motion by order

 4   dated October 11, 2017. ECF No. 43. On October 13, 2017, Plaintiffs moved to lift the discovery

 5   stay imposed by General Order No. 56. ECF No. 45. This Court granted that motion by order

 6   dated October 30, 2017. ECF No. 53. On November 6, 2017, Plaintiffs moved the Court to

 7   consider whether this action and the action styled Namisnak, et al. v. Uber Technologies, Inc., et

 8   al., No. 3:17-cv-06124 (N.D. Cal.), should be related. ECF No. 55. This Court granted that motion

 9   by order dated November 14, 2017. ECF No. 58.

10                  b.      Pending Motions. On December 14, 2017 the Parties filed a joint motion

11   to extend their deadline to complete the mediation required by General Order No. 56 and to continue

12   the Initial Case Management Conference scheduled for December 21, 2017. ECF No. 60.

13                  c.      Anticipated Motions. Defendants also anticipate filing a dispositive motion

14   for judgment on the pleadings.

15          5.      Amendment of Pleadings. Neither party intends to amend pleading at this time.

16          6.      Evidence Preservation.

17          Plaintiffs’ Statement. Plaintiffs, through their counsel, have reviewed the Guidelines

18   Relating to the Discovery of Electronically Stored Information (“ESI Guidelines”), and the parties

19   have met and conferred pursuant to Fed. R. Civ. P. 26(f) regarding reasonable and proportionate

20   steps taken to preserve evidence relevant to the issues reasonably evident in this action. Plaintiffs
21   have no reason to believe that Defendants have failed to preserve evidence in this matter. However,

22   Plaintiffs’ counsel is concerned over reports of Uber’s use of ephemeral messaging—apps such as

23   Wickr or Telegram—in the case of in Waymo v. Uber, before U.S. District Judge William Alsup.

24   Based on the conferral of counsel to prepare the Case Management Conference, it is Plaintiffs’

25   understanding that defense counsel does not believe that any such evidence-preservation issues will

26   be present in the instant litigation; however, defense counsel is going to investigate and confirm.
27          Defendants’ Statement.       Defendants certify that they have reviewed the Guidelines

28   Relating to the Discovery of Electronically Stored Information. The Parties have conferred

                                                      5          JOINT CASE MANAGEMENT STATEMENT
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 1   pursuant to Federal Rule of Civil Procedure 26(f) regarding reasonable and proportionate steps

 2   taken to preserve evidence relevant to the issues reasonable evident in this action. Defendants’

 3   counsel has no reason to believe any evidence-preservation issues Plaintiffs’ raise above exist in

 4   connection with this action, and counsel has and will continue to take all reasonable steps related

 5   to evidence preservation.

 6          7.      Disclosures. The Parties exchanged initial disclosures pursuant to Federal Rule of

 7   Civil Procedure 26(a)(1) on August 9, 2017. Plaintiffs are concerned that defendants’ initial

 8   disclosures are non-compliant (failure to list addresses and phone numbers of most witnesses) and

 9   are excessively thin and vague (listing nine individuals and describing them as merely “likely to

10   have discoverable information concerning Uber’s operations in Jackson, Mississippi”). However,

11   these initial disclosures were drafted by defendants’ previous counsel. Defendants’ counsel will

12   evaluate the August 9, 2017 initial disclosures and, if appropriate, Defendants will supplement

13   those disclosures.

14          8.      Discovery.

15                  a.        Discovery Taken. On November 7, 2017, Plaintiffs propounded one set of

16   requests for production and one set of interrogatories upon Defendants. On December 7, 2017,

17   Plaintiffs provided written responses and objections to Plaintiffs requests for production and

18   interrogatories.     Defendants will produce non-privileged documents responsive to Plaintiffs’

19   discovery requests, within the scope of Defendants’ objections, if any, and any related privilege

20   log, on a rolling basis, within one week of this Court’s entry of an appropriate protective order.
21   Defendants have not yet propounded any discovery.

22                  b.        Scope of Anticipated Discovery.

23          Plaintiffs’ statement. Based on an initial assessment, and without waiving any legal

24   issues/theories, the scope of Plaintiffs’ anticipates discovery may include:

25      •   All facts related to whether Uber is operating a demand responsive transportation system;

26      •   The degree of control Uber is asserting over the individuals who utilize the UberApp to
            provide transportation services;
27      •   How many instances have Plaintiffs been deterred from using Uber’s services;
28      •   The steps Uber has taken (and could take) to increase accessibility in Jackson, Mississippi
                                                       6         JOINT CASE MANAGEMENT STATEMENT
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 1          (if any);
 2      •   The steps Uber has taken to increase accessibility in other markets;

 3      •   The steps that could be taken to bring Uber’s services into compliance with the ADA in
            Jackson, Mississippi;
 4      •   What impediments exist, if any, to making Uber’s services accessible in Jackson,
 5          Mississippi;
        •   What accessibility plans Uber had before it entered the Jackson, Mississippi market;
 6
        •   The degree of control that Uber has asserted over its operations in Jackson, Mississippi from
 7          San Francisco, California;
 8      •   The number of new vans and SUVs that are being operated on Uber’s transportation system
            in Jackson, Mississippi;
 9
        •   The ease at which Uber could modify its application to display the UberWAV feature in
10          Jackson, Mississippi;

11      •   What number of accessible vehicles would bring Uber into compliance with the equivalent
            service standard in Jackson, Mississippi;
12
        •   What factual support exists for Uber’s affirmative defenses.
13
            Defendants’ statement. Without waiving any arguments or otherwise limiting themselves,
14
     Defendants assert that, at this early stage of the litigation the scope of discovery may including the
15
     following:
16       • Defendants’ voluntary actions in certain cities to pilot an uberWAV option within the Uber
            App;
17
        •   Demand for WAV service in Jackson, Mississippi;
18
        •   Number of WAVs and number of Drivers with safe WAVs in Jackson, Mississippi who
19          would choose to seek and accept WAV ride requests via the Uber App;

20      •   WAV service available in Jackson, Mississippi;
        •   Plaintiffs’ allegations of having been deterred from using the Uber App;
21
        •   Plaintiffs’ allegations of desiring to use the Uber App in the future;
22
        •   Plaintiffs’ transportation habits, patterns, preferences, and needs;
23
        •   Plaintiffs’ access to technology and/or equipment necessary to use the Uber App;
24      •   Plaintiffs’ access to a mode of payment necessary to use the Uber App;
25      •   Whether Plaintiffs would agree to Uber’s Terms and Conditions;
26      •   Whether Plaintiffs would agree to Uber’s Privacy Policy; and
        •   Whether Plaintiffs use a smartphone application offered by one of Defendants’ competitors
27
            (e.g., Lyft).
28

                                                       7         JOINT CASE MANAGEMENT STATEMENT
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 1                  c.        Discovery Orders. The Parties have agreed to confer and attempt to

 2   stipulate to an appropriate protective order and an e-discovery order (including an order under

 3   Federal Rule of Evidence 502(d), and an ESI protocol.

 4                  d.        Discovery Disputes.

 5          Plaintiffs’ Statement. On December 13, 2017, the parties held a meet-and-confer on

 6   defendants’ responses and objections to plaintiffs’ first set of written discovery. While the parties

 7   were able to work through many of the issues (both sides have follow-up tasks), there are several

 8   areas of disagreement. One of the main areas of disagreement is over Xchange Leasing, LLC.

 9   Plaintiff has requested any documents showing the range of vehicles which this company has

10   entered into leasing agreements with drivers since October 1, 2015. Uber responded that Xchange

11   Leasing, LLC is a “separate corporate entity” and any of Xchange Leasing, LLC’s information or

12   documents are beyond Uber’s possession, custody, or control. There is, however, countervailing

13   evidence. For example, Xchange Leasing describes itself as "an Uber company" and "related by

14   common ownership or control" to Uber Technologies, Inc. And at least some of Xchange Leasing’s

15   documents are hosted on Uber’s Box website. In lieu of a motion to compel, Plaintiffs’ counsel

16   hopes that the parties can confer before the Honorable Magistrate Judge and avoid the formal

17   motion practice.

18          Defendants’ Statement. Defendants do not believe that a pre-motion conference on the

19   question whether documents of Xchange Leasing, LLC are within Defendants’ possession, custody,

20   or control, would be beneficial without the Parties having first briefed the issue. Plaintiffs could
21   also simply subpoena Xchange Leasing, LLC, without involving the Court unnecessarily.

22          9.      Class Actions. Not applicable.

23          10.     Related Cases. On Plaintiffs’ motion, this Court has deemed this action and the

24   action styled Namisnak, et al. v. Uber Technologies, Inc., et al., No. 3:17-cv-06124 (N.D. Cal.), to

25   be related. ECF No. 58.

26          11.     Relief.
27          Plaintiffs’ Statement. Plaintiffs seek the following relief: that this Court declare that

28   Defendants’ policies, procedures, and services have been provided in a discriminatory manner

                                                      8          JOINT CASE MANAGEMENT STATEMENT
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 1   which violates the ADA, the Unruh Civil Rights Act, the California Disabled Persons Act, and

 2   California’s Business & Professions Code § 17200; that this Court declare that Defendants’

 3   violations of the anti-discrimination statutes of California were intentional; that this Court Order

 4   injunctive relief to require Defendants to bring their transportation service into compliance and

 5   remain in compliance with state and federal anti-discrimination statutes; that this Court award

 6   damages in restitution to Plaintiffs; that this Court award reasonable attorneys’ fees and costs

 7   (including expert fees) and other expenses of suit; and that this Court award such other and further

 8   relief as it deems necessary, just, proper, and appropriate.

 9          As it relates to damages, Plaintiffs, through counsel of record, are unsure of the quantum a

10   jury will place on their claims for discrimination and/or emotional distress stemming from

11   Defendants’ discrimination. Plaintiffs, through their counsel of record, reasonably forecast that

12   their claim for actual damages for discrimination and/or emotional distress is approximately

13   $20,000 each. Plaintiffs, through their counsel of record, reasonably forecast that their claim for

14   minimum statutory damages for invasion of their civil rights is approximately $10,000 each (based

15   on an estimated 10 instances of deterrence per plaintiff).

16          Defendants’ Statement. Defendants dispute that Plaintiffs are entitled to any relief.

17          12.     Settlement and ADR. The Parties are participating in the mediation required by

18   General Order No. 56. In addition, on December 11, 2017, the Parties participated in a global

19   summit involving counsel for Defendants, counsel for Plaintiffs, and counsel for plaintiffs asserting

20   similar claims in actions pending in other jurisdictions.
21          13.     Consent to Magistrate Judge. All parties do not consent to have a magistrate judge

22   conduct all further proceedings.

23          14.     Other References. At this early stage of the litigation, the Parties have not yet

24   determined whether this matter is suitable for reference to binding arbitration, a special master, or

25   the Judicial Panel on Multidistrict Litigation.

26          15.     Narrowing of Issues. The Parties agree that any narrowing of issues will be
27   determined by discovery and/or by dispositive motion.

28          16.     Expedited Trial Procedure. The Parties agree that this litigation is not the type of

                                                       9            JOINT CASE MANAGEMENT STATEMENT
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 1   case to be handled on an expedited basis or with streamlined procedures.

 2           17.      Scheduling. The Parties agree that fact and expert discovery in this action should

 3   proceed as follows:

 4           •     November 30, 2018: Fact discovery cutoff

 5           •     March 1, 2019: Expert discovery cutoff

 6           18.      Trial. Plaintiffs have demanded a jury trial. At this early stage of the litigation, the

 7   Parties are unable to reasonably or reliably estimate the length of any trial.

 8           19.      Disclosure of Non-party Interested Entities or Persons. Defendants have file a

 9   “Certification of Interested Entities or Persons” required by Civil Local Rule 3-15” (ECF No. 17).

10   The contents of that certification are included below:

11           Pursuant to Fed. R. Civ. P. 7.1, Defendants Uber Technologies, Inc. and Rasier, LLC

12   (“Defendants”) states that Uber Technologies, Inc. is a privately held corporation, is not a

13   subsidiary of any entity, and no publicly held corporation owns ten percent or more of its stock.

14   Rasier, LLC is a wholly-owned subsidiary of Uber Technologies, Inc.

15           Pursuant to Civil Local Rule 3-15, Defendants certify that, to their knowledge, other than

16   the named parties in this action, there are no other persons, associations of persons, firms,

17   partnerships, corporations (including parent corporations) or other entities have either (i) a financial

18   interest in the subject matter in controversy or in a party to the proceeding; or (ii) a nonfinancial

19   interest that could be substantially affected by the outcome of the proceeding.

20           By Plaintiffs: Plaintiffs have not yet filed a “Certification of Interested Entities or Persons”
21   required by Civil Local Rule 3-15, but will do so shortly. Plaintiffs’ counsel anticipates that

22   Plaintiffs will certify that, to their knowledge, other than the named parties in this action, there are

23   no other persons, associations of persons, firms, partnerships, corporations (including parent

24   corporations) or other entities have either (i) a financial interest in the subject matter in controversy

25   or in a party to the proceeding; or (ii) a nonfinancial interest that could be substantially affected by

26   the outcome of the proceeding.
27           20.      Professional Conduct. All attorneys of record for the Parties have reviewed the

28   Guidelines for Professional Conduct in the Northern District of California.

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 7   Dated: December 14, 2017               Respectfully submitted,

 8                                          MORGAN, LEWIS & BOCKIUS LLP

 9                                          By: s/ Anne Marie Estevez
                                                Anne Marie Estevez
10
                                                Stephanie Schuster
11                                              Clara Kollm
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12
                                                Attorneys for Defendants
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                                            By: s/ Garret DeReus
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                                                Attorneys for Plaintiffs
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                                           AQUA TERRA AERIS LAW GROUP
18
                                            By: s/ William Most
19                                              William Most
20                                              Attorneys for Plaintiffs
21

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                                          11        JOINT CASE MANAGEMENT STATEMENT
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 1                               CASE MANAGEMENT ORDER
 2          The above JOINT CASE MANAGEMENT STATEMENT & PROPOSED ORDER is

 3   approved as the Case Management Order for this case and all parties shall comply with its

 4   provisions.

 5   IT IS SO ORDERED.

 6    Dated: _________________________
                                            The Honorable Richard Seeborg
 7                                          United States District Judge

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                                                12        JOINT CASE MANAGEMENT STATEMENT
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